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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 JOHN ANTHONY CASTRO,                               §
                                                    §
                                                    §
      Plaintiff,                                    §
                                                    §
 v.                                                 §   CIVIL ACTION NO. 3:18-CV-0467-B
                                                    §
 ADAM J CAMPBELL,                                   §
                                                    §
                                                    §
      Defendant.                                    §

                                  ORDER TRANSFERRING CASE

         On March 29, 2018 the Court issued an Order to Show Cause why venue was proper in this

Court. Doc. 7, Order. The Court issued its Order because the record revealed that Defendant resides

in Michigan and the actions giving rise to Plaintiff’s defamation claim took place in Michigan. Id. at

1. Plaintiff responded to the Court’s Order and argued that venue was proper in this Court under 28

U.S.C. § 1391(b)(2) because “a substantial part of the property that is the subject of the action” is

in this district. Doc. 8, Resp., 1. He claims that Plaintiff’s law firm is headquartered in this district

and the law firm has been affected by Defendant’s alleged defamatory statements. Id. He also states

that Plaintiff resides in this district, id., even though Plaintiff’s complaint states that his office address

is in Washington, DC, Doc. 1, Compl., ¶ 5.

         Regardless of where Plaintiff resides or where his law firm is headquartered, Plaintiff has not

demonstrated venue is proper in this district. A plaintiff’s residence is not a basis to establish venue

under § 1391 and the “substantial property” clause of subsection (b)(2) establishes venue only for

“suits involving property disputes or in rem actions.” Barrow v. Sutton, CIVIL ACTION NO. H-14-


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200, 2014 WL 12586346, at *3 (S.D. Tex. July 16, 2014) (quoting Falcoal Inc. v. Turkiye Komur

Isletmeleri Kurumu, 660 F. Supp. 1536, 1543 (S.D. Tex. 1987)); see Spain v. Eagleburger Law Grp.,

No. 04-CV-01817-WDM PAC, 2006 WL 650191, at *3 (D. Colo. Mar. 9, 2006)(collecting cases).

Here, Plaintiff’s only cause of action is for defamation. Therefore, on the Court’s own motion, this

case is TRANSFERRED to the United States District Court for the Eastern District of Michigan.

28 U.S.C. §§ 1404(a), 1406(a).



       SO ORDERED.

       SIGNED: April 13, 2018.

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                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE




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